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                                 United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

   JUAN LOZADA-LEONI,                           §
            Plaintiff,                          §
                                                §
   V.                                           §
                                                §       Civil Action No. 4:20CV68-RWS-CMC
                                                §
   MONEYGRAM INTERNATIONAL,                     §
   INC., ET AL.,                                §
               Defendants.                      §


             ORDER ON INTERVENOR KLG’S MOTION FOR LEAVE TO FILE
                FIRST AMENDED COMPLAINT FOR ATTORNEY’S FEES


          The above-referenced cause of action was referred to the undersigned United States

   Magistrate Judge for pretrial purposes in accordance with 28 U.S.C. § 636. The following pending

   motion is before the Court:

          Intervenor KLG’s Motion for Leave to File a First Amended Complaint for
          Attorney’s Fees (Docket Entry # 175).

   The Court, having carefully considered the relevant briefing, is of the opinion Intervenor’s motion

   for leave to file a First Amended Complaint for Attorney’s Fees should be GRANTED.

                                         I. BACKGROUND

          In his original complaint and First Amended Complaint, Plaintiff Juan Lozada-Leoni

   (“P laintiff”) sued MoneyGram International, Inc. (“MGI”), as well as Juan Manuel Gonzalez and

   Christopher Ponder, pursuant to the whistleblower provision of the Corporate and Criminal Fraud

   Accountability Act of 2002, also known as the Sarbanes-Oxley Act, codified at 18 U.S.C. §

   1514A(a), as amended by Section 929A of the Dodd-Frank Wall Street Reform and Consumer

   Protection Act of 2010. On May 16, 2019, Plaintiff filed his Second Amended Complaint, dismissing
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   the individual defendants and adding MoneyGram Payments Systems, Inc. (“MPSI”) as a defendant,

   along with MGI (collectively, “Defendants”). See Docket Entry # 21.

            On October 19, 2020, the undersigned entered a 138-page Report and Recommendation,

   recommending Defendants’ motions for summary judgment be denied. See Docket Entry # 127. In

   the Report and Recommendation, the undersigned advised the parties that within fourteen days after

   service of the report, any party must serve and file specific written objections to the findings and

   recommendations contained in the report. On October 26, 2020, Kardell Law Group PC (“KLG”),

   Plaintiff’s former counsel who withdrew by Order dated April 15, 2020, filed a Motion for Leave

   to Intervene, seeking to intervene to protect its contractual interest in the proceeds from this lawsuit.1

   Docket Entry # 128.

            Two days later, Plaintiff and Defendants, Moneygram International, Inc. and Moneygram

   Payment Systems, Inc., filed a Joint Motion to Stay All Deadlines and Notice of Settlement, advising

   the Court that all matters in controversy between the parties have been settled in principle. Docket

   Entry # 130. On October 29, 2020, the Court granted the Joint Motion to Stay All Deadlines and

   Notice of Settlement, ordering that all deadlines in the above-referenced cause of action were stayed

   for thirty days pending finalization of the settlement. Docket Entry # 131. The Court ordered the

   parties or their counsel to submit to the Court all papers necessary for the closing of this case and

   its removal from the active docket of the Court within thirty days from the date of entry of the Order.

            On November 13, 2020, Plaintiff and proposed Intervenor KLG filed a Joint Motion for Entry

   of Scheduling Order Regarding Attorney Fee Dispute. Docket Entry # 132. Defendants expressed

            1
               In the Certificate of Conference, KLG stated Plaintiff objected to any claim by Kardell to attorney fees in this
   matter but did not object to the Court making the determination as to whether Kardell should recover any attorney fees
   in this matter. Defendants stated they take no position on the dispute or the motion.

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   no interest in the issue. The Court granted the joint motion on November 16, 2020, ordering Plaintiff

   and KLG to submit briefing on the relative positions regarding the attorney fee dispute.2 Docket

   Entry # 133.

           On December 14, 2020, KLG filed its Motion for Leave to File its Original Complaint for

   Attorney’s Fees. Docket Entry # 146. The Certificate of Conference stated Plaintiff was opposed to

   the relief. Although the motion for leave stated KLG’s Original Complaint for Attorney’s Fees was

   attached as “Exhibit A” to the motion for leave, the proposed Original Complaint was not attached

   as an exhibit but was separately filed on the docket as Docket Entry # 147. Plaintiff did not file a

   response in opposition to the motion for leave. Rather, Plaintiff filed a substantive response to

   Intervenor’s Request for Attorney Fees on December 18, 2020 (Docket Entry # 149). Plaintiff later

   filed an Amended Response to Intervenor’s Request for Attorney Fees on January 4, 2021 (Docket

   Entry # 157), thus terminating Plaintiff’s original response (and KLG’s related motion to strike p.

   11, ¶ 24 of Plaintiff’s original response). 3 KLG filed a reply on January 8, 2021 (Docket Entry #

   163), and Plaintiff filed a surreply on January 15, 2021 (Docket Entry # 166).

           Meanwhile, on January 5, KLG filed a Motion for Disclosure, noting both sides had made

   significant settlement progress. See Docket Entry # 159. According to KLG, one “hurdle” to

   settlement was the fact that Plaintiff’s attorneys were “reluctant to disclose either the amount that

   was reached in settlement with MoneyGram or the attorney’s fee portion of that amount.” Id. at p.

   1. KLG believed that “once we get past this hurdle, that settlement is highly likely.” Id. KLG



           2
               Thereafter, the Court revised the pleading schedule. See Docket Entry #s 152, 155.
           3
              The Court notes KLG filed an Amended Motion to Strike on January 5, 2021, requesting the Court strike p.
   11, ¶ 24 of Plaintiff’s amended response.

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   requested the Court enter an order directing Hutchinson & Stoy to disclose, confidentially, to KLG

   the amount Hutchinson & Stoy anticipates will be payable as their contingent fee and expenses

   herein. Id. at p. 2.

            On February 11, 2021, the Court entered an Order granting Kardell Law Group’s Motion for

   Leave to Intervene (Docket Entry # 128) and Intervenor KLG’s Motion for Leave to File its Original

   Complaint for Attorney’s Fees (Docket Entry # 146).4

                                          II. KLG’S MOTION FOR LEAVE

            In KLG’s motion for leave to file a First Amended Complaint for Attorney’s Fees, KLG

   requests leave to amend the original complaint to respond to two new issues raised for the first time

   in Plaintiff’s January 15, 2021 surreply. Specifically, KLG asserts justice requires that it be given

   the opportunity to rebut Plaintiff’s allegations of “abandonment” of this case, “i.e., that KLG

   withdrew their representation of Plaintiff because of KLG’s ‘disapproval of the client’s

   objective[s].’” Docket Entry # 175 at pp. 2-3. KLG further seeks to respond to Plaintiff’s assertion

   in the surreply that KLG failed to present evidence of reasonable and necessary attorney’s fees, and

   alternatively, that quantum meruit recovery is inappropriate here because that entitlement has not

   been proven by competent evidence. Id. at p. 2.

            In his response in opposition to KLG’s motion for leave to amend, Plaintiff points out, as an



              4
                In its February 11, 2021 Order, the Court further instructed Plaintiff to advise the Court as follows: (1) whether
   Plaintiff and/or Hutchison & Stoy oppose the relief requested in Intervenor KLG’s Motion for Disclosure (Docket Entry
   #159); (2) the current status of settlement discussions with KLG as to the disputed attorney fee issue; and (3) whether
   a hearing on Intervenor KLG’s Original Complaint for Attorney’s Fees and related Amended Motion to St rike would
   be helpful in resolving the disputed attorney fee issue. On February 15, 2021, Plaintiff filed a Notice Advising of Status
   (Docket Ent ry # 173), stating, among other things, Plaintiff’s counsel has provided KLG, in confidence, the final
   settlement amount as well as Plaintiff’s contingency interest, thus mooting KLG’s Motion for Disclosure.
              On February 23, 2021, the Court entered an Order denying Intervenor KLG’s Motion for Disclosure (Docket
   Entry # 159) as moot. See Docket Entry # 174.

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   initial matter, all of the extensive briefing that has been filed by KLG in the past six months. Docket

   Entry # 179 at pp. 1-3. Plaintiff asserts KLG “has had ample time to file necessary pleadings and

   documents with the Court.” Id. at p. 3. Plaintiff objects to continuing, recurring filings by KLG and

   wishes for a resolution. Id.

           According to Plaintiff, “[e]ven the proposed First Amended Complaint fails to comply with

   the requirements necessary to recover attorney fees, which require: providing admissible evidence

   of reasonable hours worked with specific time entries, reasonable hourly rate, time and labor

   required, skill required to perform the legal services correctly, etc.” Id. Plaintiff addresses Rule

   15(a)(2) and argues the Court should deny KLG’s motion because of “undue delay,” “repeated

   failure to cure deficiencies,” “undue prejudice to the opposing party,” and “futility of amendment.”

   Id. at p. 4.

           In its reply, KLG states as follows:

           the Complaint and the proposed Amended Complaint was necessary to preserve a
           future defense of mandatory counterclaim, in view of Plaintiff’s ‘oath of relentless
           vengeance’ stated in an email to Steve Kardell and the disingenuous refusal of
           Hutchison & Stoy throughout the extent and duration of this intervention to admit
           that their formal claims consisted of a claim for malpractice. These proceedings
           generally require the pleading formality of a separate lawsuit. Kardell believed it was
           uncertain whether a simple briefing schedule would suffice here.

   Docket Entry # 180 at pp. 3-4. According to KLG, the proposed First Amended Complaint for

   Attorney’s Fees will “actually kill[] two birds with one stone: first, since [Plaintiff’s surreply] was

   the first mention of Plaintiff’s specious ‘abandonment’ allegations, the proposed Amended

   Complaint provides KLG the first opportunity to rebut those allegations.” Id. at p. 4. “Secondly,

   since [Plaintiff’s surreply] was also the first detailed mention of an alleged paucity of attorney’s fees

   evidence, the proposed Amended Complaint responds to those issues in a succinct fashion.” Id.

                                                       5
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                                              III. APPLICABLE LAW

            Under Federal Rule of Civil Procedure 15(a), leave to amend should be freely given when

   justice requires. Foman v. Davis, 371 U.S. 178, 182 (1962). Factors determining whether there is

   “substantial reason” to deny leave to amend include: “undue delay, bad faith or dilatory motive on

   the part of the movant, repeated failures to cure deficiencies by amendments previously allowed,

   undue prejudice to the opposing party, and futility of the amendment.” Bayway Lincoln Mercury,

   Inc. v. Universal Underwriters Ins. Co., Civil Action No. H-19-3817, 2020 WL 8093495, at *3 (S.D.

   Tex. Dec. 4, 2020) (quoting Marucci Sports, L.L.C. v. Nat’l Collegiate Athletic Ass’n, 751 F.3d 368,

   378 (5th Cir. 2014) (alteration omitted in Bayway)).

                                                   IV. DISCUSSION

            P laintiff asserts Federal Rule of Civil Procedure 15 does not support granting leave to file

   an amendment that was unduly delayed, fails to cure deficiencies, and is futile. Docket Entry # 179

   at p. 4. Plaintiff further asserts he will be prejudiced if leave is granted.

            At this time, the Court does not find any undue delay, bad faith or dilatory motive, repeated

   failures to cure deficiencies by amendments previously allowed, undue prejudice, or futility. The

   Court therefore finds no substantial reason to deny KLG’s leave to amend. Therefore, KLG’s motion

   for leave to file its proposed First Amended Complaint for Attorney’s Fees is granted pursuant to

   Federal Rule of Civil Procedure 15(a).5

                                                  V. CONCLUSION

            Based on the foregoing analysis, it is hereby



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             To the extent Plaintiff desires to address any of the allegations contained in the First Amended Complaint for
   Attorney’s Fees, Plaintiff may seek leave of Court to do so.

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         ORDERED that Intervenor KLG’s Motion for Leave to File a First Amended Complaint for

   Attorney’s Fees (Docket Entry # 175) is GRANTED.

         SIGNED this 23rd day of March, 2021.




                                                   ____________________________________
                                                   CAROLINE M. CRAVEN
                                                   UNITED STATES MAGISTRATE JUDGE




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